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                                           Exhibit A

                                        Proposed Order




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                               Debtors.                              )     (Jointly Administered)
                                                                     )

                  ORDER (I) AUTHORIZING THE DEBTORS TO
          RETAIN AND COMPENSATE PROFESSIONALS UTILIZED IN THE
       ORDINARY COURSE OF BUSINESS AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing, but not directing,

the Debtors to retain and compensate professionals utilized in the ordinary course of business and

(b) granting related relief, all as more fully set forth in the Motion; the United States District Court

for the District of Delaware has jurisdiction over this matter pursuant to 28 U.S.C. § 1334, which

was referred to the United States Bankruptcy Court for the District of Delaware (the “Court”)

under 28 U.S.C. § 157 pursuant to the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012; and this Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found

that this Court may enter a final order consistent with Article III of the United States Constitution;

and this Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and this Court having found that the Debtors’ notice of the Motion and opportunity for a

hearing on the Motion were appropriate and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation

and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

           1.          The Motion is granted as set forth in this Order.

           2.          The Debtors are authorized, but not directed, to retain and compensate the

professionals identified on the OCP List (collectively, the “OCPs”), attached as Exhibit 2, in the

ordinary course of business pursuant to the following OCP Procedures:

           a. Within thirty days after the later of (i) the date of entry of the Order or (ii) the
              date on which an OCP commences work for the Debtors, such OCP shall file,
              or cause to be filed, a declaration of disinterestedness, substantially in the form
              attached hereto as Exhibit 1 (each, a “Declaration of Disinterestedness”), with
              the Court and served upon: (a) the Debtors, Yellow Corporation, 11500
              Outlook Street, Suite 400, Overland Park, Kansas 66211, Attn.: General
              Counsel; (b) proposed counsel to the Debtors (i) Kirkland & Ellis LLP, 300
              North LaSalle, Chicago, IL 60654, Attn.:                     Whitney Fogelberg
              (whitney.fogelberg@kirkland.com) (ii) Kirkland & Ellis LLP, 601 Lexington
              Avenue, New York, NY 10022, Attn.: Allyson B. Smith
              (allyson.smith@kirkland.com); and (iii) Pachulski Stang Ziehl & Jones LLP,
              919 North Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware
              19801, Attn: Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns
              (tcairns@pszjlaw.com), Peter J. Keane (pkeane@pszjlaw.com), and Edward
              Corma (ecorma@pszjlaw.com); (c) the Office of the United States Trustee for
              the District of Delaware, 844 King Street, Suite 2207, Lockbox 35, Wilmington,
              Delaware 19801, Attn.: Jane Leamy (jane.m.leamy@usdoj.gov) and Richard
              Shepacarter (richard.shepacarter@usdoj.gov); (d) proposed counsel to the
              Committee (i) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank
              of America Tower, New York, NY 10036-6745 US, Attn: Philip C. Dublin
              (pdublin@akingump.com), Meredith A. Lahaie (mlahaie@akingump.com),
              and Kevin Zuzolo (kzuzolo@akingump.com) and (ii) proposed co-counsel to


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                 the Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313 North
                 Market Street, Suite 1201, Wilmington, DE 19801, Attn: Jennifer R. Hoover
                 (jhoover@beneschlaw.com)          and         Kevin         M.       Capuzzi
                 (kcapuzzi@beneschlaw.com); (e) counsel to the Junior DIP Lender,
                 (i) Quinn Emmanuel Urquhart & Sullivan, 865 S. Figueroa St., 10th Floor, Los
                 Angeles, CA 90017, Attn: Eric Winston (ericwinston@quinnemanuel.com) and
                 51 Madison Avenue, 22nd Floor, New York, NY 10010, Attn: Susheel Kirplani
                 (susheelkirpalani@quinnemanuel.com), and (ii) Ropes & Gray LLP, 191 North
                 Wacker Drive, 32nd Floor, Chicago, IL 60606, Attn: Lucas S. Smith
                 (Luke.Smith@ropesgray.com) and 1211 Avenue of the Americas, New York,
                 NY 10036, Attn: Natasha S. Hwangpo (Natasha.Hwangpo@ropesgray.com);
                 (f) counsel to the Junior DIP Agent, Holland & Knight LLP, 50 N. Riverside
                 Plaza, Suite 2700, Chicago IL 60606, Attn. Joshua M. Spencer
                 (Joshua.Spencer@hklaw.com)           and       Phillip       W.       Nelson
                 (Phillip.Nelson@hklaw.com); (g) counsel to the B-2 Lenders, White & Case
                 LLP, 1221 Avenue of the Americas, New York, NY 10020 Attn: Scott
                 Greissman           (sgreissman@whitecase.com),         Elizabeth       Feld
                 (efeld@whitecase.com), and Andrew Zatz (azatz@whitecase.com); (h) counsel
                 to the Prepetition ABL Agent, Choate, Hall & Stewart LLP, Two International
                 Place, Boston, MA 02110, Attn: Kevin Simard (ksimard@choate.com) and
                 Hampton Foushee (hfoushee@choate.com); (i) counsel to the B-2 Agent,
                 Holland & Knight LLP, 50 N. Riverside Plaza, Suite 2700, Chicago IL 60606,
                 Attn. Joshua M. Spencer (Joshua.Spencer@hklaw.com) and Phillip W. Nelson
                 (Phillip.Nelson@hklaw.com); (j) counsel to the Prepetition UST Tranche A
                 Agent, Hogan Lovells US LLP, 390 Madison Avenue, New York, NY 10017,
                 Attn: Ronald J. Silverman and Christopher R. Bryant; (k) counsel to the
                 Prepetition UST Tranche B Agent, Hogan Lovells US LLP, 390 Madison
                 Avenue, New York, NY 10017, Attn: Ronald J. Silverman
                 (ronald.silverman@hoganlovells.com)       and    Christopher     R.   Bryant
                 (chris.bryant@hoganlovells.com); (l) counsel to the United States Department
                 of the Treasury, Arnold & Porter Kaye Scholer LLP, 70 West Madison Street,
                 Suite 4200, Chicago, IL 60602, Attn: Michael Messersmith
                 (michael.messersmith@arnoldporter.com), 250 West 55th Street, New York,
                 NY 10019, Attn: Benjamin Mintz (benjamin.mintz@arnoldporter.com), and
                 601 Massachusetts Ave., N.W., Washington, DC 20001, Attn: Rosa Evergreen
                 (rosa.evergreen@arnoldporter.com); and (m) the United States Department of
                 Justice, 1100 L St NW Rm 7102, Washington, DC 20005-4035, Attn: I-
                 Heng.Hsu          (I-Heng.Hsu@usdoj.gov)        and        Crystal     Geise
                 (Crystal.Geise@usdoj.gov) (collectively, the “Notice Parties”).

           b. The Notice Parties shall have fourteen days after the date of filing of each
              OCP’s Declaration of Disinterestedness (the “Objection Deadline”) to object to
              the retention of such OCP. The objecting party shall file any such objection
              and serve such objection upon the Notice Parties and the respective OCP on or
              before the Objection Deadline. If any such objection cannot be resolved within
              fourteen days of its receipt, the matter shall be scheduled for hearing before the
              Court at the next regularly scheduled omnibus hearing date that is no less than

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                 fourteen days from that date or on a date otherwise agreeable to the parties. The
                 Debtors shall not be authorized to retain and compensate such OCP until all
                 outstanding objections have been withdrawn, resolved, or overruled by order of
                 the Court.

           c. If no objection is received from any of the Notice Parties by the Objection
              Deadline with respect to any particular OCP, the Debtors shall be authorized,
              but not directed, to: (i) retain such OCP as of the date such OCP commenced
              providing services to the Debtors and (ii) compensate such OCP as set forth
              below.

           d. The Debtors shall be authorized, but not directed, to pay, without formal
              application to the Court by any OCP, 100 percent of fees and disbursements to
              each of the OCPs retained by the Debtors pursuant to the OCP Procedures upon
              submission to the Debtors of an appropriate invoice setting forth in reasonable
              detail the nature of the services rendered after the Petition Date; provided that
              fees paid to each OCP set forth on Exhibit 2 attached hereto, excluding costs
              and disbursements, may not exceed $225,000 per month per OCP, calculated as
              an average over a rolling three-month period, while these chapter 11 cases are
              pending (the “Tier 1 OCP Monthly Cap”), the fees of each OCP set forth in
              Exhibit 3 attached hereto, excluding costs and disbursements, may not exceed
              $100,000 per month per OCP, calculated as an average over a rolling
              three-month period, while these chapter 11 cases are pending (the “Tier 2
              OCP Monthly Cap”), and the fees of each OCP set forth in Exhibit 4 attached
              hereto, excluding costs and disbursements, may not exceed $25,000 per month
              per OCP, calculated as an average over a rolling three-month period, while
              these chapter 11 cases are pending (the “Tier 3 OCP Monthly Cap”); provided,
              further, that the total amount disbursed per quarter, for each OCP set forth on
              Exhibit 2, does not exceed $675,000 per OCP (the “Tier 1 OCP Quarterly
              Cap”), the total amount disbursed per quarter, for each OCP set forth on
              Exhibit 3, does not exceed $300,000 per OCP (the “Tier 2 OCP Quarterly
              Cap”), and the total amount disbursed per quarter, for each OCP set forth on
              Exhibit 4, does not exceed $75,000 per OCP (the “Tier 3 OCP Quarterly Cap,”
              and together with the Tier 1 OCP Monthly Cap, Tier 1 OCP Quarterly Cap, Tier
              2 OCP Monthly Cap, Tier 2 OCP Quarterly Cap, and the Tier 3 OCP Monthly
              Cap, the “OCP Caps”). The OCP Caps may be increased by mutual agreement
              between the Debtors, the U.S. Trustee, the DIP Agent, the Junior DIP Lender,
              the Junior DIP Agent, the B-2 Lenders, the B-2 Agent, and the Committee;
              provided that the Debtors shall file a notice with the Court and submit notice to
              the Notice Parties of any such agreed increase.

           e. To the extent that fees payable to any OCP exceed the applicable OCP Cap, the
              OCP shall file a fee application (a “Fee Application”) with the Court for the
              amount in excess of the applicable OCP Cap pursuant to sections 330 and 331
              of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the fee
              guidelines promulgated by the Office of the United States Trustee, and any


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                 applicable orders of the Court, unless the United States Trustee agrees
                 otherwise.

           f. Beginning on the quarter ending September 30, 2023, and for each quarter
              thereafter during which these chapter 11 cases are pending, the Debtors shall,
              within thirty days thereof, file with the Court and serve on the Notice Parties a
              statement with respect to each OCP paid during the immediately preceding
              quarterly period (the “Quarterly Statement”). Each Quarterly Statement shall
              include: (i) the name of the OCP; (ii) the aggregate amounts paid as
              compensation for services rendered and reimbursement of expenses incurred by
              that OCP during the reported quarter; and (iii) a general description of the
              services rendered by that OCP.

           g. The Debtors reserve the right to retain, in consultation with the Committee,
              additional OCPs from time to time during these chapter 11 cases by including
              such OCPs on an amended version of the OCP List that is filed with the Court
              and served on the Notice Parties and having such OCPs comply with the
              OCP Procedures.

           3.          The Debtors are authorized, but not directed, to supplement the OCP List as

necessary to add or remove OCPs, from time to time and after consultation with the Committee,

without the need for any further hearing and without the need to file individual retention

applications for newly added OCPs, provided that the fees paid to any additional OCPs do not

exceed the OCP Caps. The Debtors shall file any amended OCP List with this Court and serve

such list on the Notice Parties. Each additional OCP listed in the OCP List shall file with this

Court and serve a Declaration of Disinterestedness on the Notice Parties as provided in the OCP

Procedures.           If no objections are filed within fourteen days to any such additional OCP’s

Declaration of Disinterestedness, then retention of such OCPs shall be deemed approved by this

Court pursuant to this Order without a hearing or further order.

           4.          Nothing contained herein shall affect the Debtors’ or any appropriate party in

interest’s ability to dispute any invoice submitted by an OCP, and nothing contained herein shall

preclude the Debtors from seeking authority to pay any OCP in an amount greater than the OCP

Caps, subject to the rights of any party in interest to oppose any such request.


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           5.          This Order shall not apply to any professional retained by the Debtors pursuant to

a separate order of the Court.

           6.          Nothing contained in the Motion or this Order, and no action taken pursuant to the

relief requested or granted (including any payment made in accordance with this Order), is

intended as or shall be construed or deemed to be: (a) an admission as to the amount, validity or

priority of, or basis for any claim against the Debtors under the Bankruptcy Code or other

applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to

dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim;

(d) an implication, admission or finding that any particular claim is an administrative expense

claim, other priority claim or otherwise of a type specified or defined in the Motion or this Order;

(e) a request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant

to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability

or perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

estates; or (g) a waiver or limitation of any claims, causes of action or other rights of the Debtors

or any other party in interest against any person or entity under the Bankruptcy Code or any other

applicable law.

           7.          Notwithstanding anything to the contrary in this Order, any payment made, or

authorization contained, hereunder, shall be subject to the “Approved Budget” as defined in the

order of the Court approving the debtor-in-possession financing in these chapter 11 cases.

           8.          Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.




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           9.          Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

           10.         The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

           11.         This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                         7
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                                            Exhibit 1

                             Form of Declaration of Disinterestedness




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )    Case No. 23-11069 (CTG)
                                                                     )
                               Debtors.                              )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. __

                    DECLARATION OF DISINTERESTEDNESS
                    OF [ENTITY] PURSUANT TO THE ORDER
            AUTHORIZING THE DEBTORS TO RETAIN AND COMPENSATE
         PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS

I, [NAME], declare under penalty of perjury:

             1.        I am a [POSITION] of [ENTITY], located at [STREET, CITY, STATE, ZIP

CODE] (the “Firm”).

             2.        Yellow Corporation and certain of its affiliates, as debtors and debtors in possession

(collectively, the “Debtors”), have requested that the Firm provide [SPECIFIC DESCRIPTION]

services to the Debtors, and the Firm has consented to provide such services.

             3.        The Firm may have performed services in the past, may currently perform services,

and may perform services in the future in matters unrelated to these chapter 11 cases for persons

that are parties in interest in the Debtors’ chapter 11 cases. The Firm does not, however, perform

services for any such person relating to these chapter 11 cases, or have any relationship with any

such person, their attorneys, or their accountants that would be adverse to the Debtors or

their estates.



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.



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           4.          As part of its customary practice, the Firm is retained in cases, proceedings, and

transactions involving many different parties, some of whom may represent or be employed by the

Debtors, claimants, and parties in interest in these chapter 11 cases.

           5.          Neither I nor any principal, partner, director, or officer of, or professional employed

by, the Firm has agreed to share or will share any portion of the compensation to be received from

the Debtors with any other person other than the principal and regular employees of the Firm.

           6.          Neither I nor any principal, partner, director, or officer of, or professional employed

by, the Firm, insofar as I have been able to ascertain, holds or represents any interest adverse to

the Debtors or their estates with respect to the matter(s) upon which the Firm is to be employed.

           7.          [The Debtors owe the Firm $[●] for prepetition services, the payment of which is

subject to the limitations contained in title 11 of the United States Code, 11 U.S.C. §§ 101–1532.]

           8.          As of the Petition Date, which was the date on which the Debtors commenced these

chapter 11 cases, the Firm [was/was not] party to an agreement for indemnification with certain of

the Debtors. [A copy of such agreement is attached as Exhibit 1 to this Declaration.]

           9.          The Firm is conducting further inquiries regarding its retention by any creditors of

the Debtors, and upon conclusion of that inquiry, or at any time during the period of its

employment, if the Firm should discover any facts bearing on the matters described herein, the

Firm will supplement the information contained in this Declaration.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

 Date: ___________, 2023

                                                         [DECLARANT’S NAME]




                                                         2
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                                                      Exhibit 2

                                                   Tier 1 OCP List

                              Name                       Address                      Service
                                             4801 MAIN ST
                     Husch Blackwell LLP                                        Legal - Real Estate
                                             Kansas City, MO 64180
                                             DEPT 0522, PO BOX 120522
                             KPMG LLP                                           Auditors
                                             DALLAS, TX 75312
                                             444 WEST LAKE STREET SUITE
                 McDermott, Will & Emery                                        Legal - Workers
                                             4000
                          LLP                                                   Compensation
                                             Chicago, IL 60606
                                             COUNSELORS AT LAW, PO BOX
                 Morgan, Lewis & Bockius
                                             8500 S-6050                        Legal - Employment
                          LLP
                                             PHILADELPHIA, PA 19178
                  Ogletree, Deakins, Nash,   PO BOX 89
                                                                                Legal - Employment
                  Smoak & Stewart, P.C.      COLUMBIA, SC 29202
                                             11 TIMES SQUARE
                      Proskauer Rose LLP                                        Legal - Labor
                                             New York, NY 10036
                 Willis Towers Watson US     1079 SOLUTIONS CENTER
                                                                                Actuarial Services
                           LLC               CHICAGO, IL 60677




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                                                        Exhibit 3

                                                     Tier 2 OCP List

                               Name                         Address                      Service
                                              126 DON HILLOCK DR
                             Altus Group                                           Accounting - Tax
                                              AURORA ON L4G 0G9, CANADA
                                              PASEO DE LOS TAMARINDOS
                  Basham, Ringe y Correa,     #100, 5TH FLOOR, BOSQUES DE          Legal - Mexican
                           S.C.               LAS LOMAS, CUAJIMALPA DE             Counsel
                                              MORELOS, 05120, MEXICO CITY
                                              9400 WARD PARKWAY                    Consulting -
                  Burns & McDonnell, Inc.
                                              KANSAS CITY, MO 64114                Environmental

                    Carr, Allison, Oliver &   100 VESTAVIA PKWY                    Legal - Injury and
                          Sisson LLP          Birmingham, AL 35216                 Property Damage

                                              4076 PAYSPHERE CIR                   Tax and Consulting
                    Ethority (dba Equifax)
                                              CHICAGO, IL 60674                    Services
                                              BAY ADELAIDE CENTRE, 333
                 Filion, Wakely, Thorup &     BAY ST STE 2500 PO BOX 44            Legal - Canadian
                       Angeletti LLP          TORONTO ON M5H 2R2,                  Counsel
                                              CANADA
                                              75 State St
                 Hemenway & Barnes LLP                                             Legal - Taxation
                                              Boston, MA 02109
                   Hunton Andrews Kurth       951 E BYRD ST
                                                                                   Legal - Taxation
                           LLP                Richmond, VA 23219
                      Maher, Brannigan &      11520 W 183rd St
                                                                                   Legal - Taxation
                        Heywood PC            Orland Park, IL 6046
                                              P.O. BOX 74751                       Consulting - Safety
                       Origami Risk LLC
                                              Chicago, IL 60694                    and Compliance
                                              Three Galleria Office Tower
                             Ryan Law         13155 Noel Road, Suite 1850          Legal - Taxation
                                              Dallas, Texas 75240
                                              114 Old Country Rd # 218
                    Schroder & Strom LLP                                           Legal - Taxation
                                              Mineola, NY 11501
                                              8700 Indian Creek Pkwy Brown and     Consulting -
                      Serviam Consulting      Gold Office                          Information
                                              Overland Park, KS 66210              Technology




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                               Name                      Address                      Service

                                            3689 COLLECTION CENTER              Consulting -
                             TekSystems     DRIVE                               Information
                                            CHICAGO, IL 60693                   Technology

                                                                                Employment
                                            P. O. BOX 645555
                      Thomas & Company                                          Verification
                                            Cincinnati, OH 45264
                                                                                Services




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                                                        Exhibit 4

                                                     Tier 3 OCP List

                                Name                        Address                        Service
                                               734 N WELLS ST
                         Amari & Locallo                                             Legal - Taxation
                                               CHICAGO, IL 60654
                                               PO BOX 206700                         Auditors - Benefits
                             Armanino LLP
                                               Dallas, TX 75320                      Plan

                                               LOCKTON RETIREMENT                    Consulting Services
                        Creative Planning      SERVICES, PO BOX 952032               and Investment
                                               St Louis, MO 63195                    Management
                                               45 ROCKEFELLER PLAZA
                      Dexter Hofing LLC        SUITE 2000                            Actuarial Services
                                               New York, NY 10111
                         Gowling Lafleur       P.O. BOX 466, STATION D               Legal - Corporate
                         Henderson LLP         OTTAWA ON K1P 1C3, CANADA             Counsel
                                               1310 E 104TH ST STE 300
                             MarksNelson                                             Accounting - Tax
                                               KANSAS CITY, MO 64131
                                               11300 TOMAHAWK CREEK
                    Property Tax Advisory
                                               PKWY STE 320                          Consulting - Tax
                            Group
                                               Leawood, KS 66211
                  Scopelitis, Garvin, Light,   10 W MARKET ST STE 1500               Legal -
                    Hanson & Feary PC          INDIANAPOLIS, IN 46204                Transportation
                                               PURDYS WHARF TOWER ONE,
                      Stewart, McKelvey,                                             Legal - Canadian
                                               1959 UPPER WATER STREET
                      Sterling, Scales LLP                                           Regulatory
                                               HALIFAX NS B3J 3N2, CANADA
                                               12400 COIT RD STE 960
                  Tax Advisors Group LLC                                             Consulting - Tax
                                               Dallas, TX 75251
                                               180 N LA SALLE ST # 3010
                         Worsek & Vihon                                              Legal - Taxation
                                               CHICAGO, IL 60601




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